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                          UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.,

                                Plaintiff,
                                                               Civil Action No. 1:14-cv-14176-ADB
        v.

PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,

                                Defendant.

                   RESPONSE TO MOTION FOR RECONSIDERATION
        Plaintiff, Students for Fair Admissions, Inc., takes no position with respect to the motion of

the Reporters Committee for Freedom of the Press (Doc. 713) to the extent it seeks reconsideration

of the denial of its motion to intervene.

        With respect to the Reporters Committee’s motion to reconsider the merits of the Court’s

decision on sealing, SFFA strongly disagrees with the suggestion that information disclosing the

identity of applicants to Harvard, including SFFA’s standing members, should be publicly disclosed.

Individual applicants are “not parties” to this action, NAACP v. Ala. ex rel. Patterson, 357 U.S. 449, 459

(1958). Indeed, SFFA’s standing arises from the fact that “the individual participation of” its members

is not “indispensable to proper resolution of the cause.” Hunt v. Wash. State Apple Advertising Comm’n,

432 U.S. 333, 343 (1977); see also New York v. U.S. Dep’t of Com., 351 F. Supp. 3d 502, 606 n.48

(S.D.N.Y.) (explaining that standing members can remain anonymous due to, among other reasons,

their right to associational privacy), aff’d in part, 139 S. Ct. 2551, 2565-66 (2019). The Reporters

Committee’s assertion that standing members are akin to pseudonymous litigants, see Mot. at 5, thus

misses the mark. Consistent with its prior position, see Doc. 702, SFFA urges the Court to continue

to seal any information in the sidebars that would personally identify non-consenting applicants—

SFFA members or not—but otherwise takes no position on the motion for reconsideration.


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 Dated: January 12, 2023                                        Respectfully submitted,


                                                                 /s/ Patrick Strawbridge
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                                   CERTIFICATE OF SERVICE
          I certify that this document was filed via the CM/ECF system, which will notify all counsel of

record.

                                                           /s/ Patrick Strawbridge
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